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8                           UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
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11      DARRYL DUNSMORE, ERNEST                       Case No.: 20-cv-00406-AJB-DDL
        ARCHULETA, ANTHONY EDWARDS,
12
        REANNA LEVY, JOSUE LOPEZ,                     ORDER DENYING AS MOOT
13      CHRISTOPHER NELSON,                           MOTION FOR EXPEDITED
        CHRISTOPHER NORWOOD, and                      DISCOVERY
14
        LAURA ZOERNER, on behalf of
15      themselves and all others similarly
        situated,
16
                                        Plaintiffs,   [Dkt. No. 212]
17
        v.
18
        SAN DIEGO COUNTY SHERIFF’S
19
        DEPARTMENT, COUNTY OF SAN
20      DIEGO, CORRECTIONAL
        HEALTHCARE PARTNERS, INC., TRI-
21
        CITY MEDICAL CENTER, LIBERTY
22      HEALTHCARE, INC., LOGAN HAAK,
        M.D., INC., SAN DIEGO COUNTY
23
        PROBATION DEPARTMENT, and
24      DOES 1 to 20, inclusive,
25                                   Defendants.
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27           Before the Court is Plaintiffs’ Motion for Limited Expedited Discovery (the
28    “Motion”). Dkt. No. 212. When Plaintiffs filed the Motion, there were several

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1     motions to dismiss pending, and Plaintiffs’ motion for a preliminary injunction had
2     been denied. See Dkt. No. 203. Plaintiffs sought the Court’s leave to seek “limited”
3     discovery from defendant County of San Diego – before the pleadings were closed
4     and before the parties had participated in the conference required by Federal Rule
5     of Civil Procedure 26(f) – to allow them “to determine whether and on what bases
6     to move again for injunctive relief, and for the Court to resolve any such motion.”
7     See Dkt. No. 212-1 at 7.
8           On September 27, 2022, the District Court granted the pending motions to
9     dismiss, and dismissed Plaintiffs’ operative Second Amended Complaint in its
10    entirety (albeit with leave to amend certain claims). See Dkt. No. 219. In light of
11    the District Court’s dismissal of Plaintiffs’ complaint, there is no basis upon which
12    discovery can proceed. See Am. Rivers v. Nat’l Marine Fisheries Serv., 126 F.3d
13    1118, 1123 (9th Cir. 1997) (“A federal court does not have jurisdiction ‘to give
14    opinions upon moot questions or abstract propositions, or to declare principles or
15    rules of law which cannot affect the matter in issue in the case before it.’”) (quoting
16    Church of Scientology v. United States, 506 U.S. 9, 12 (1992)).
17          Accordingly, Plaintiffs’ Motion [Dkt. No. 212] is DENIED AS MOOT.
18    IT IS SO ORDERED.
19     Dated: September 28, 2022
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                                                     Hon. David D. Leshner
22                                                   United States Magistrate Judge
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